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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                CR. NO. 17-20595
                      Plaintiff,
v.                                              HON. MARIANNE O. BATTANI

YOUSEF RAMADAN,

                      Defendant.
                                        /

              MOTION FOR RETURN OF SEIZED PROPERTY

      Yousef Ramadan, through his attorneys, Andrew Densemo and Colleen

Fitzharris, of the Federal Defender Office, moves for an order requiring the

Government to return personal property seized from Defendant on October 11, 2017

pursuant to the Fourth Amendment and Rule 41. Defendant files a supporting brief

and further states:

      1.     Mr. Ramadan is charged with Possession of Firearm with Obliterated

Serial Number, in violation of 18 U.S.C. § 922(k).

      2.     On August 15, 2017, Customs and Border Patrol agents detained Mr.

Ramadan at Detroit Metropolitan Airport. At this time the agents also seized a

number of items from him. Among them were several thousand dollars in cash,

jewelry and gold. Mr. Ramadan was never given a receipt for these seized items.
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      3.    Defense counsel asked government counsel to instruct the agents to

return these items to Mr. Ramadan. The agents claim they do not have these items

and as such they have not returned the requested items. The requested items were

not returned to Mr. Ramadan when he was released from custody on August 15, 2017

nor were they given to any member of his family.

      4.    Mr. Ramadan’s property is being held in violation of the Fourth

Amendment and should be returned immediately.

      Mr. Ramadan respectfully requests an order requiring the Government to return

the requested items to him.

                                             Respectfully submitted,

                                             FEDERAL DEFENDER OFFICE


                                              s/Andrew Densemo
                                             ANDREW DENSEMO (P37583)
                                             Attorney for Defendant
                                             613 Abbott Street, 5th Floor
                                             Detroit, Michigan 48226
                                             (313) 967-5829
                                             E-mail: andrew_densemo@fd.org
Dated: December 20, 2017




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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                           CR. NO. 17-20595
                 Plaintiff,
v.                                         HON. MARIANNE O. BATTANI

YOUSEF RAMADAN,

                 Defendant.
                                   /

                     BRIEF IN SUPPORT OF
            MOTION FOR RETURN OF SEIZED PROPERTY
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                                  BACKGROUND

      On August 15, 2017, at Detroit Metropolitan Airport, U.S. Customs and Border

Patrol agents removed Yousef Ramadan and his family from a flight bound for the

country of Jordan. Allegedly, contraband had been observed in Mr. Ramadan’s

checked luggage. The agents removed the Ramadan family from the airplane to

conduct an investigation. During the course of their investigation, agents seized all

of Mr. Ramadan’s property. This property included multiple electronic and digital

devices, luggage, and backpacks. Contained within his backpacks was cash , jewelry

and gold, which are the particular items he is seeking to recover.

      After they were removed from their flight, Mr. Ramadan and his family were

detained by the federal agents for several hours before they were released. Mr.

Ramadan’s wife and four children were released first. Mr. Ramadan wasn’t released

until the next day. When he returned home he searched his backpacks for his

personal property. He discovered that his money, jewelry and gold had been

removed.    The next day, Mr. Ramadan contacted the federal agent(s) who had

detained him to inquire about his property. For two weeks thereafter, Mr. Ramadan

made several calls and visits to the agents’ offices in an attempt to locate and regain

his property, without success. On August 29, 2017 he was arrested on the current




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charges. Despite repeated requests Mr. Ramadan’s property has not been returned to

him.

                THE FOURTH AMENDMENT PROTECTS
          AGAINST UNREASONABLE SEARCHES AND SEIZURES

        The Fourth Amendment of the Constitution mandates, "the right of the people

to be secure in their persons, houses, papers, and effects, against unreasonable

searches and seizures." U.S. Const Amend. IV. Reasonableness of a given search or

seizure depends upon a balance between the public interest and the individual's right

to personal security free from arbitrary interference by law officers. United States v.

Brignoni-Ponce, 422 U.S. 873, 878 (1975). “The Supreme court has established that

one of the purposes of the prohibition on unreasonable seizures of property is the

protection of the individual’s property rights in the seized item.” Fox v. Van

Oosterum, 176 F.3d 342, 350 (6th Cir. 1999). A seizure of property occurs when

there is some meaningful interference with an individual’s possessory interests in that

property. United States v. Jacobson, 466 U.S. 109, 113 (1984); Bonds v. Cox, 20

F.3d 697, 701 (6th Cir. 1994). In the ordinary case, the Supreme Court has viewed

a seizure of personal property as per se unreasonable within the meaning of the

Fourth Amendment unless it is accomplished pursuant to a judicial warrant issued

upon probable cause and particularly describing the items to be seized. United States


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v. Place, 462 U.S. 696 (1983) (emphasis added). The government must return Mr.

Ramadan ’s property if the seized property does not contain evidence of a crime, was

not used and did not facilitate the commission of the charged offense. Fed. R. Crim.

P. 41(g). United States v. Hess, 982 F.2d 181, 186 (6th Cir. 1992).

      Federal Rule of Criminal Procedure 41(g) states that:

      A person aggrieved by an unlawful search and seizure of property or by
      the deprivation of property may move for the property's return. The
      motion must be filed in the district where the property was seized. The
      court must receive evidence on any factual issue necessary to decide the
      motion. If it grants the motion, the court must return the property to the
      movant, but may impose reasonable conditions to protect access to the
      property and its use in later proceedings.

      The facts of the present case demonstrate that Mr. Ramadan’s personal property

should be returned to him. There is no evidence that they are fruits or

instrumentalities of the crimes of possession of firearms with obliterated serial

numbers on which the arrest was based. These items do not constitute contraband and

are unrelated to any alleged criminal activity by Mr. Ramadan. Their seizure and

retention by the Government is therefore not reasonable under the Fourth

Amendment, and the items should be returned to Mr. Ramadan.




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                                CONCLUSION

      For all of the foregoing reasons, Mr. Ramadan respectfully requests an order

requiring the Government to return Mr. Ramadan’s cash, gold, and jewelry which

were seized from him at the time of his detention on August 15, 2017.

                                             Respectfully submitted,

                                             FEDERAL DEFENDER OFFICE


                                              s/Andrew Densemo
                                             ANDREW DENSEMO (P37583)
                                             COLLEEN P. FITZHARRIS
                                             Attorneys for Defendant
                                             613 Abbott Street, 5th Floor
                                             Detroit, Michigan 48226
                                             (313) 967-5829
                                             E-mail: andrew_densemo@fd.org
                                             E-mail: colleen_fitzharris@fd.org

Dated: December 20, 2017




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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                 CR. NO. 17-20595
                   Plaintiff,
v.                                               HON. MARIANNE O. BATTANI

YOUSEF RAMADAN,

                   Defendant.
                                        /

                          CERTIFICATE OF SERVICE

      I, hereby certify that on December 20, 2017, I electronically filed the foregoing

paper with the Clerk of the Court using the ECF system which will send notification

of such filing to the following:

                                   RONALD WATERSTREET
                                   Assistant United States Attorney
                                   United States Attorney’s Office
                                   211 W. Fort Street, Suite 2001
                                   Detroit, Michigan 48226
                                   E-mail: ronald.waterstreet@usdoj.gov

                                            FEDERAL DEFENDER OFFICE

                                             s/Andrew Densemo
                                            ANDREW DENSEMO (P37583)
                                            Attorney for Defendant
                                            613 Abbott Street, 5th Floor
                                            Detroit, Michigan 48226
                                            (313) 967-5829
                                            E-mail: andrew_densemo@fd.org
